 

AO ii (!.n OlC';) G'rudca!¢i.cr¢

UNITED STATES DlsTthT COURT
for the
\\'estem Distn‘ct of Pcrrnsy|vania

 

L'nited S'..~.:es of America )
Ha-e,c;rrouwyu § CJS=ND- Dq"(FV]M
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CRI.\II.\'AL CO.\IPLAI§\"I'

l. the complainant in this csse. state that the following is true to the best of my knowledge and belief

On or shoes the date of 0527!2009 in the county of Allegheny in the Western District of
Peg_~_s}. hra-ria . the defendant violated 18 U. S. C. § 922(§)(1) . an offense described as follows:

The oe‘enr.*,a':r_ har.~'ng previr:us.'y been convicted of a crime punishable by a term of imprisonment exceeding one year.
n.a'ne‘y. we offense cf lirearrns net to be carried without a Ecense. in the Court of Cornmon Pleas ofAllegheny County.
Fe.'~my+.'ania at CC= 200&5380. on or about Novernber 3. 2006, did knowingly possess. in and aliecting commerce.
the btb¢-'n; fmarms: Bersa Thunder, .380 caliber pistol, serial #959068: Bersa Thunder. 9mm pistol_ serial #826?98;
Sa`\;a, 12 ga'_r;e sbct;.rc, serial rOS-¢S?$Bt; Remington 870 shotgun, serial #ABSiQBBlM; Marlin .357 Magnum n`tie.
senai G?.:'SZZ‘IS; R;.r;er .22 rif'e. serial #353429?1; Ruger .357 caliber revolver, serial #17555065; Ruger .357 caliber
moi.-er_ se".al r573?5371; Bend A.rms .45 caHber Dern'nger. serial #365-14; Bersa Thunder .380 mliber pistol. serial
l'»".'éSZZ.‘i; soc ar:~r.':mie.on_

Ti:is eri::~.iml complaint is based on these facts:
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ii concerned on me arrde shea

    

Gregory Heeb. FB| Special Agent

 

 

Pn'nrrd me md rr'r!¢
S\\c-:'n to before me and signed in my presence.
D.:t:: ___ 11.'23'290‘9
Mge '.r signature
Crr_\ and s‘_."e: Prt:sburgn. Pennsylvania Honorable Lisa Popo Lenihan. U.S. Mag. Judge

 

Pru-tr¢a‘ name and rr'r.'e

